                       Case 1:22-cv-00109-KLD Document 2 Filed 10/03/22 Page 1 of 3
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                          District
                                                   __________      of Montana
                                                              District of __________

                                                                     )
  Blossom Old Bull, Personal Representative of the                   )
             Estate of Braven Glenn                                  )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. CV-22-109-BLG-SPW-KLD
                                                                     )
        United States of America and Does 1-10                       )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Attorney General Garland
                                           U.S. Department of Justice
                                           950 Pennsylvania Ave., NW
                                           Washington DC 20530-0001




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Timothy M. Bechtold
                                           Bechtold Law Firm, PLLC
                                           P.O. Box 7051
                                           Missoula, MT 59807



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              TYLER P. GILMAN, CLERK OF COURT


Date:             10/03/2022
                                                                                        Signature of Clerk or Deputy Clerk
                       Case 1:22-cv-00109-KLD Document 2 Filed 10/03/22 Page 2 of 3
AO 440 (Rev. 06/12) Summons in a Civil Action


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                                                     __________      of Montana
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                                                                      )
  Blossom Old Bull, Personal Representative of the                    )
             Estate of Braven Glenn                                   )
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                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. CV-22-109-BLG-SPW-KLD
                                                                      )
        United States of America and Does 1-10                        )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Civil Process Clerk
                                           U.S. Attorney's Office
                                           2601 2nd Ave. N.
                                           Suite 3200
                                           Billings, MT 59101



          A lawsuit has been filed against you.

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P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Timothy M. Bechtold
                                           Bechtold Law Firm, PLLC
                                           P.O. Box 7051
                                           Missoula, MT 59807



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                                                                                TYLER P. GILMAN, CLERK OF COURT


Date:             10/03/2022
                                                                                          Signature of Clerk or Deputy Clerk
                       Case 1:22-cv-00109-KLD Document 2 Filed 10/03/22 Page 3 of 3
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                          District
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                                                                     )
  Blossom Old Bull, Personal Representative of the                   )
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                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. CV-22-109-BLG-SPW-KLD
                                                                     )
        United States of America and Does 1-10                       )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) US Department of the Interior
                                           1849 C Street NW
                                           Washington, DC 20240




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Timothy M. Bechtold
                                           Bechtold Law Firm, PLLC
                                           P.O. Box 7051
                                           Missoula, MT 59807



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                                                                              TYLER P. GILMAN, CLERK OF COURT


Date:             10/03/2022
                                                                                        Signature of Clerk or Deputy Clerk
